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                                                                                           -:Kv
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                                       '^(           OCTO9 2018
                                                              vA,                 <-■ ■•      /
                                                              /-Sl'9y^                       /
                                                                                    ;;X
UNITED STATES OF AMERICA,                          SENTENCINGl^iQTIJELiNE
                                                   ORDER


           V.

                                                   Case No. 6:I4-CR-06038-EAW
ALEXANDER GREEN,

                  Defendant.




ASSISTANT U.S. ATTORNEY                    Sean C. Eldridge

DEFENSE ATTORNEY                           David Rothenberg


INTERPRETER (YES OR NO)                    No


DATE OF PLEA                               October 3, 2018

SENTENCING DATE                            March 20. 2019 @, 2:00 PM


INITIAL PSR DUE                            February 13, 2019
                                 (35 DAYS PRIOR TO SENTENCING)


OBJECTIONS (IF ANY), AND
MOTIONS (IF ANY) DUE
(IE THERE ARE NO OBJECTIONS,
COUNSEL ARE DIRECTED TO
EILE A STATEMENT INDICATING
THIS)                                      February 27, 2019
                                 (14 DAYS AFTER RECEIPT OF THE PSR)




RESPONSES TO ANY OBJECTIONS
OR MOTIONS DUE                             March 6, 2019
                                 (14 DAYS PRIOR TO SENTENCING)




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LETTERS AND SENTENCING
STATEMENTS DUE                                    March 11. 2019
                                          (10 DAYS PRIOR TO SENTENCING)


FINAL PSR DUE                                     March 13.2019
                                          (7 DAYS PRIOR TO SENTENCING)




The deadlines setforth above are based on the sentencing date originally set by the Court. If
the Court grants an adjournment of the sentencing date, the parties are obligated to calculate
the new deadlines for submission based on any adjourned sentencing date. In other words,
whatever the sentencing date, the general time requirements setforth above apply.


              SUBMISSIONS NOTIN COMPLIANCE WITH THIS ORDER
                               WILL NOT BE CONSIDERED.



NOTE: MOTIONS FOR EXTENSION OF TIME ARE DUE TWO (2) BUSINESS DAYS
        PRIOR TO ANY DEADLINE,EXCEPT ANY REQUEST TO ADJOURN THE
        SENTENCING DATE MUST BE MADE ONE WEEK IN ADVANCE OF THE
        SENTENCING DATE.




       SO ORDERED.


Dated: October 9, 2018
       Rochester, New York
                                             I
                                           Ehzabet
                                                          istrict Judge




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